                 UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                      Case No. 1:15-cv-00109-MR
                            )
SANDRA M. PETERS, on behalf of
                            )
herself and all others similarly situated,
                            )
                            )
              Plaintiff,    )
  v.                        )
                            )
AETNA INC., AETNA LIFE      )
INSURANCE COMPANY, and      )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                       )
                            )
              Defendants.   )
                            )

           DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
       In accordance with Local Rule 7.1(j), Defendants submit this Notice of

Supplemental Authority as further support for their opposition to Peters’s motion for

class certification.

       In Rocket Mortgage v. Alig, No. 21-428, -- S.Ct. --, 2022 WL 89247 (Jan. 10,

2022), the Supreme Court vacated the Fourth Circuit’s decision affirming class

certification and remanded for further proceedings in light of TransUnion v. Ramirez,

141 S. Ct. 2190 (2021), a case in which the Court held that, among other things,

statutory violations without more do not qualify as the concrete injury needed for

Article III standing. Id. at 2205 (“Importantly, this Court has rejected the proposition

that a plaintiff automatically satisfies the injury-in-fact requirement whenever a




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statute grants a person a statutory right and purports to authorize that person to sue

to vindicate that right.”) (internal quotation marks omitted).

      In Alig, a putative class of mortgage applicants claimed that the defendant

mortgage companies committed a procedural error in how they ordered home

appraisals. Alig v. Quicken Loans Inc., 990 F.3d 782 (4th Cir. 2021). The defendants

argued that proposed class members did not suffer a concrete injury because the

alleged error did not cause putative class members any personal financial harm. Id.

at 791–92. The Fourth Circuit rejected the defendants’ arguments and affirmed class

certification, reasoning that “there is simply not a large number of uninjured persons

included within the plaintiffs’ class.” Id. at 792. On January 10, the Supreme Court

vacated the Fourth Circuit’s decision and remanded for further proceedings in light

of TransUnion.


Dated this 26th day of January, 2022.
                                              Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I certify that on January 26, 2022, I filed and served a copy of the Defendants’

Notice of Supplemental Authority using the CM/ECF system, which will give notice

to counsel of record.



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